     Case: 1:22-cv-04438 Document #: 5 Filed: 08/19/22 Page 1 of 3 PageID #:127




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS

 JOEL HABICH, individually and on behalf of
 a class of persons similarly situated,

               Plaintiffs,                           Case No. 22 CV 4438

        vs.
                                                     REMOVED FROM:
 EXELON CORPORATION,                                 Circuit Court of Cook County, Illinois
 COMMONWEALTH EDISON COMPANY,                        Case No. 2022L006413
 ACLARA TECHNOLOGIES, LLC, AND
 ACLARA METERS, LLC,

               Defendants.

            EXELON CORPORATION’S RULE 7.1 CORPORATE
DISCLOSURE STATEMENT AND LOCAL RULE 3.2 NOTICE OF AFFILIATES

       Defendant Exelon Corporation (“Exelon”) submits this disclosure statement pursuant to

Federal Rule of Civil Procedure 7.1 and Local Rule 3.2:

       1.     Exelon is a publicly held corporation that has no parent corporation.

       2.     No publicly held corporation owns 10% or more of Exelon’s stock.

       3.     The Vanguard Group, Inc., BlackRock, Inc., State Street Global Advisors, Inc.,

and Wellington Management Group, LLP have reported to the Securities and Exchange

Commission that they each beneficially own more than 5 % of Exelon’s common shares.
Case: 1:22-cv-04438 Document #: 5 Filed: 08/19/22 Page 2 of 3 PageID #:128




 Dated: August 19, 2022              Respectfully submitted,


                                     /s/ Brian O. Watson

                                     Brian O. Watson
                                     Sarah E. Finch
                                     RILEY SAFER HOLMES & CANCILA LLP
                                     70 W. Madison St., Ste. 2900
                                     Chicago, Illinois 60602
                                     (312) 471-8700 – Phone
                                     (312) 471-8701 – Fax
                                     bwatson@rshc-law.com
                                     sfinch@rshc-law.com

                                     Paul Kelly
                                     Kellett McConville
                                     KELLY & KING, P.C.
                                     19 S. LaSalle St., Suite 1000
                                     Chicago, Illinois 60603
                                     312-553-5290 – Phone
                                     312-553-5291 – Fax
                                     pek@kellykinglaw.com
                                     mkm@kellykinglaw.com

                                     Counsel for Defendant Exelon Corporation




                                    2
     Case: 1:22-cv-04438 Document #: 5 Filed: 08/19/22 Page 3 of 3 PageID #:129




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 19, 2022, I electronically filed the foregoing with the

clerk of the court using the CM/ECF system, which will send notice of electronic filing to all

CM/ECF participants.


                                                     /s/ Brian O. Watson
                                                     Brian O. Watson
